Vanessa McCarty

From:

Sent:

To:

Cc:

Subject:
Attachments:

| would not oppose.

l\/lathew E. F|atow

l\/|anaging Partner
SeiferFlatow, PLLC

2319 Crescent Avenue
Char|otte, North Caro|ina 28207
Phone: 704 512-0606

Fax: 704 314-0677

mathew@seiferf|atow.com
www.seiferflatow|aw.com

CONF|DENT|AL|TY

l\/|athew Flatow

l\/ionday, November 30, 2015 12:59 P|\/l

Patricia Armenteros

Vanessa McCarty

Re: Antonio Stukes v. Debra Antney 3:15-CV-176
imageOOl.png; image003.jpg

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On Nov 30, 2015, at 12:49 Pl\/|, Patricia Armenteros <pa rmenteros@halscottmega ro.com> wrote:

Dear IVlr. Flatow,

l\/|y name is Patricia Armenteros, assistant to attorney Patrick l\/|egaro and Jaime Ha|scott. |\/|r. Ha|scott
has asked me to email you and see if you opposed to an extension of time to answer the first set of
interrogatories. | know that it was due las week, but we recently got a hold of i\/ls. Antney and she is
having some difficulty understanding some of the questions. We are in the process of reviewing the
interrogatories with her and get these answer, but we need more time to put them together. Wou|d you
oppose to a 30 day extension?

Thanks.

Sincerely,

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Patricia Armenteros

Lega/Assistant l 1 j _
j t Ai--\ t/-\Ls LAw

Appea|s Law Group ' ry

33 E. Robinson St., Suite 220, Or|ando, FL 32801

Te|: (407) 255-2165 | Fax: (855) 224-1671

parmenteros@Appea|sLawGroup.com

 

<image002.jpg>

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